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 9                                                       UNITED STATES DISTRICT COURT
10                                                    SOUTHERN DISTRICT OF CALIFORNIA
11
     DANIEL SLANDARA,                                                             )   Civil No.12cv1345 AJB (JMA)
12                                                                                )
                                         Plaintiff,                               )
13   v.                                                                           )   ORDER GRANTING JOINT MOTION TO
                                                                                  )   DISMISS
14   MANDARICH LAW GROUP, LLP; CACH,                                              )
     LLC.,                                                                        )
15                                                                                )
                                         Defendants.                              )
16
17               Based upon the Joint Motion for Dismissal, and for good cause shown, this Court hereby orders
18   that the entire action is hereby dismissed with prejudice.
19               IT IS SO ORDERED.
20
21   DATED: October 12, 2012
22
                                                                                      Hon. Anthony J. Battaglia
23                                                                                    U.S. District Judge
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